                                                       EXHIBIT A


             IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                       Case No. 1:22-cv-597

JENNIFER DUNBAR, President of the         )
Cabarrus Republican Women,                )
                                          )
       Plaintiff,                         )
                                          )    DECLARATION OF
v.                                        )   JENNIFER DUNBAR
                                          )
ADDUL RAHMAN EL ALI, individually )
and in his official capacity as Chairman )
of the Cabarrus County Republican         )
Party; JACK LAMBERT, individually         )
and in his official capacity as Vice      )
Chairman of the Cabarrus County           )
Republican Party; CLAY MAGUIRE,           )
individually and in his official capacity )
as Secretary of the Cabarrus County       )
Republican Party; BENITA CONRAD,          )
individually and in her official capacity )
as Treasurer of the Cabarrus County       )
Republican Party; SCOTT ELLIOTT,          )
individually and in his official capacity )
as Immediate Past Chairman of the         )
Cabarrus County Republican Party;         )
PARISH MOFFITT, individually and in )
his official capacity as Finance Chairman )
of the Cabarrus County Republican Party;)
KEVIN CRUTCHFIELD, individually           )
and in his official capacity as Member    )
of the Cabarrus County Republican         )
Party Executive Committee;                )
DARRIN GAMRADT, individually              )
and in his official capacity as Member    )
of the Cabarrus County Republican         )
Party Executive Committee;                )
ANITA BROWN, individually and in her )
official capacity as Member of the        )
Cabarrus County Republican Party          )




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Executive Committee; MARY INGRAM,      )
individually and in her official capacity
                                       )
as Member of the Cabarrus County       )
Republican Party Executive Committee;  )
BETTY LAPISH, individually and in her  )
official capacity as Member            )
of the Cabarrus County Republican      )
Party Executive Committee;             )
BRITT MCINTYRE, individually and       )
in her official capacity as Member of the
                                       )
Cabarrus County Republican Party       )
Executive Committee; JACOB ABEL,       )
individually and in his official capacity
                                       )
as Member of the Cabarrus County       )
Republican Party Executive Committee;  )
ROBERT FREEMAN, JR., individually      )
and in his official capacity as Member of
                                       )
the Cabarrus County Republican Party   )
Executive Committee; and the           )
CABARRUS COUNTY REPUBLICAN             )
PARTY,                                 )
                                       )
      Defendants.                      )
______________________________________ )

      Pursuant to 28 U.S.C. § 1746, Jennifer Dunbar hereby declares under

penalty of perjury as follows:


      1.    My name is Jennifer Dunbar. I am over the age of 18 and am

suffering from no impairment or disability that prevents me from making this

declaration. I am competent to testify to the facts stated herein, all of which

are based on personal knowledge.

      2.    All of the below statements are true and accurate to the best of my

knowledge, information, and belief.

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      3.    I am a citizen and resident of Cabarrus County, North Carolina. I

am the current President of Cabarrus Republican Women, a federated

Republican club, affiliated with the North Carolina Federation of Republican

Women. I have performed my duties well and work hard at meeting and

exceeding the demands of my position.

      4.    The individual defendants are persons who signed a notice emailed

to me on July 18, 2022, seeking to remove me from my position on the

Executive Committee of the Cabarrus County Republican Party. A true and

accurate copy of that notice is attached hereto as Exhibit 1.

      5.    Defendant Cabarrus County Republican Party comprises as

members all registered Republicans in Cabarrus County, North Carolina. It is

governed by the Plan of Organization of the Republican Party of Cabarrus

County, North Carolina as well as the State Party’s Plan of Organization. It

is the entity officially recognized as the County Republican Party by the North

Carolina Republican Party and by North Carolina elections officials. A true

and accurate copy of the County Party’s Plan of Organization is attached

hereto as Exhibit 2.

      6.    The current chairman of the Cabarrus County Republican Party is

Defendant Addul Ali.

      7.    I have been involved with the Cabarrus County Republican Party

for many years, and there has long been a problem with male members of the

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local GOP leadership making sexist comments, criticizing and denigrating

women’s political events, and trying to prevent women’s events from even

occurring. The result has been a two-tiered system wherein men are treated

far more favorably by the Cabarrus County Republican Party than women,

especially when it comes to placing individuals in positions of power.

      8.    This sex discrimination has been especially pronounced toward the

Cabarrus Republican Women, a federated Republican club, affiliated with the

North Carolina Federation of Republican Women.           The North Carolina

Federation of Republican Women (“NCFRW”) is an organization separate from

the North Carolina Republican Party, though the two entities do, of course,

work together closely to advance the causes of the Republican Party generally.

The NCFRW has chapters across the state, including the Cabarrus Republican

Women in Cabarrus County.

      9.    There is also a North Carolina Federation of Republican Men,

(“NCFRM”), which has a similar structure as the NCFRW and a similar

relationship with the North Carolina Republican Party. Both the NCFRW and

the NCFRM are often referred to as “auxiliary” organizations. The North

Carolina Republican Party does not exercise governance or control over these

auxiliary organizations, as they are considered separate and distinct entities

with their own leadership structures, rules, procedures, budgets, and

organizational formalities.

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      10.   Following the North Carolina State Republican Party’s Plan of

Organization, the Cabarrus County Republican Party’s Plan of Organization

has long provided a seat on its Executive Committee to the President of the

Cabarrus Republican Women and similarly provided a seat to the chairman or

president of the local men’s auxiliary.

      11.   Under the Cabarrus County Republican Party’s Plan of

Organization, the President of the Cabarrus Republican Women holds her seat

on the Executive Committee ex officio and by virtue of being the President of

the county Republican women’s organization.

      12.   The granting of a seat on the County Party’s Executive Committee

to the President of the Republican Women does not give the County Party any

right or authority to govern the actions of the Republican Women. Instead, the

Cabarrus Republican Women remains a separate and distinct organization

from the Cabarrus County Republican Party.

      13.   For several years, Presidents of the Cabarrus Federated Women

did not regularly attend meetings of the County Party’s Executive Committee

and generally maintained distance from it.       Because I believe the CRW

President coming into office in 2019 was expected to insist on her equal rights

as a member of the Executive Committee, the leadership of the County Party

resisted and delayed seating her for four months, even though it seated the

then 18-year-old chairman of the Republican Men’s Club without delay.

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      14.   During the four months of delay, Defendants demanded a copy of

the CRW’s charter. Upon information and belief, no such similar request was

ever made of the Republican Men’s Club.

      15.   In November 2021, I was unanimously elected President of the

Cabarrus Republican Women. After learning this news, I am informed that

Chairman Ali expressed great frustration to many people and used expletives

like the “f-word” in his outbursts. When the meeting at which I was to assume

my seat on the Executive Committee commenced, he took the Executive

Committee (excluding me) into a closed session for approximately fifteen

minutes before reluctantly agreeing to my being seated.

      16.   The same County Party leadership has also tried to prevent and

undermine events hosted by the Cabarrus Republican Women. For example,

men from the County Party strongly objected when the CRW announced it

would have a booth at the September 2019 County Fair. Women from the CRW

were repeatedly peppered with questions by these men as to why we wanted

to have a booth, and the County Party took various steps, hoping to deprive us

of our booth, even after the CRW explained why it was needed.

      17.   In a 2019 city council race, two members of the Executive

Committee openly endorsed and supported the Unaffiliated male candidate

over the Republican woman candidate, but they did not receive any form of

party discipline.   Chairman Ali (who was then in leadership, but not yet

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chairman) defended their actions and helped prevent any consequences from

befalling the Executive Committee members who had supported the non-

Republican man. Of note, the two arguably “disloyal” Executive Committee

members were both women, but they were disloyal in what might be ironically

called the “right way”—that is, by supporting a man over a woman.

      18.   The County Party printed only 1500 sample ballots for the 2020

General Election, a woefully inadequate supply that was quickly depleted.

When a female Republican candidate printed her own sample ballots, at her

own expense, along with the appropriate legend required by law, the male

leadership of the County Republican Party responded with great hostility.

      19.   Defendant Kevin Crutchfield changed the locks on the local

Republican Party headquarters, thereby prohibiting this candidate from

having access to the headquarters (a privilege she had possessed up to that

point) and preventing her from getting her campaign supplies that were inside.

Furthermore, members of the County GOP leadership falsely claimed the

female candidate had stolen sample ballots belonging to the County Party, and

Defendant Parish Moffit was sent to a precinct polling place in an apparent

effort to intimidate her and take her own sample ballots away from her.

      20.   In the most recent 2022 primary election, Chairman Ali provided

very strong support to the male candidate over a female candidate in the

Republican primary for a District Court judgeship. Even though the male

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candidate was the incumbent judge, many voters supported the female

candidate, not only based on an assessment of relative qualifications, but also

because the male candidate would be required to resign his position

approximately fifteen months into his four-year term, thereby unnecessarily

creating a vacancy due to North Carolina’s mandatory retirement age for

judges.

      21.   Chairman Ali has a longtime practice of attending functions

hosted by the Cabarrus Republican Women, often bringing a number of people

with him. Under this practice, neither Mr. Ali nor any of the others he brings

with him will pay an admittance fee, and Mr. Ali will often dismissively tell

the women working the admissions table words to the effect of, “I’ll get that to

you later.” Despite his promises on these occasions, he typically does not ever

pay the Cabarrus Republican Women for admission to its events.             CRW

members have seen this and remarked that it makes them feel demeaned

because they would never think of going to a County Party or Men’s Club event

without paying the admissions fee.

      22.   The Cabarrus County Republican Party has also undertaken a

practice, accelerated by Chairman Ali, of placing less qualified men in positions

of authority in the party. Some of these men have been teenagers or in their

early 20s, and they have lacked substantial real-life experience generally or

experience in politics specifically. Far more qualified women have been passed

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over for these positions in favor of these men. Women are not wholly excluded

from positions in the County Party. From my assessment, though, women who

are accepted into party positions are not treated equally and must submit to

the will of the male leadership, especially Chairman Ali.

      23.   The notice asserts four charges of “gross inefficiency” and states

that Mrs. Dunbar will be given the opportunity to defend herself at a meeting

of the Executive Committee, to be held at 6:30 pm, on August 2, 2022, at 96

McGill Ave. NW, Concord.

      24.   As evidence of the sex-based discrimination present in the notice’s

charges, the president of the Cabarrus County Republican Men’s Club has

allowed non-party endorsed Republican school board candidates to speak

during at least one of his club’s events, and his action has apparently not

brought any adverse response from Defendants against him, illustrating the

double standard.

      25.   There is danger in my losing my seat on the County Party

Executive Committee, even if for only a time, because important decisions

related to the November 2022 elections will soon be made. Moreover, if there

is a vacancy in an elected office or on the ballot that requires being filled by

the Cabarrus County Executive Committee during that time, I will be deprived

of my right to participate in that process.



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      26.   When I first received the July 18 notice (which I did not receive

until July 19), I contacted several leaders of the Republican Party outside of

the County. Both State Party Chairman Michael Whatley and State Party

Executive Director Jason Simons agreed in conversations with me that the

proceedings against me should be halted.

      27.   It was not until around July 25, 2022, that it became apparent to

me that I should retain legal counsel. I then retained attorney B. Tyler Brooks

on July 26, 2022. Since that time, I have heard that Chairman Ali has received

assurances from both Whatley and Simmons that he can handle the matter

however he likes because it is a county party issue.

      Pursuant to 28 U.S.C. § 1746, I hereby declare under penalty of perjury

that the foregoing is true and correct.

      Executed on August 2nd, 2022.



                                     Jennifer Dunbar




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                                                      EXHIBIT 1




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                                                                                EXHIBIT 2


              REPUBLICAN PARTY COUNTY PLAN OF ORGANIZATION
                    CABARRUS COUNTY, NORTH CAROLINA

                                           PREAMBLE

        We, the Members of the Republican Party of Cabarrus County, North Carolina are
dedicated to the sound principles fostered by our party, are conscious of our civic responsibilities
and rights, firm in our determination to give our strength to preserving the American principle that
government ought and must be of all the people, by all of the people and for all the people.
Therefore, for the purpose of uniting and coordinating our efforts for maximum power and
efficiency, and providing focus to win elections, we herewith establish this instrument, The Plan
of Organization of the Republican Party of Cabarrus County, North Carolina.

                                  ARTICLE I - MEMBERSHIP

A.     MEMBERS

        All citizens of Cabarrus County, North Carolina who are registered Republicans are
Members of the Republican Party of Cabarrus County and shall have the right to participate in the
official affairs of the Republican Party in accordance with these rules. All references herein to
Delegates, Alternates, Officers and Members shall, in all cases, mean persons identified and
registered with the Republican Party in the Precinct of their residence and in accordance with the
adopted North Carolina Republican Party Plan of Organization (referred to herein as the “State
Plan”). Any person running for Party Office within the Cabarrus County Republican Party shall
be a resident of Cabarrus County, North Carolina.

                        ARTICLE II - PRECINCT ORGANIZATION

A.     ANNUAL PRECINCT MEETINGS

       1.      Call for Meeting

        In every year, the County Chairman shall call Precinct Meetings during the months of
February or March, after giving no less than 10 days written notice to each Precinct Chairman and
by notice in a newspaper of general circulation within the county as provided for in Article VII.A.4.
Precinct Chairs shall be informed as to the number of registered Republicans entitled to cast votes
at the county convention. Failure of the County Chairman to act in compliance with the provision
above shall be cause for any Member of the County Executive Committee to call said Precinct
Meetings by notice in a newspaper of general circulation within the County as provided for in
Article VII.A.4. Every Republican registered as of January 31 preceding the Meetings shall be
entitled to cast 1 vote, except that the January 31 requirement shall not apply to residents who have
moved into the Precinct or have turned eighteen (18) years of age between January 31st and the
day of the precinct meeting.




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       2.      Election of Precinct Officers

       At odd-year Precinct Meetings, at which a quorum is one person, attendees shall elect a
Precinct Committee consisting of a Chairman, Vice-Chairman, Secretary, and as many Members-
at-Large as deemed necessary to conduct the business of the Precinct. Members of the Precinct
Committee shall hold their offices for 2 years or until their successors are chosen.

       3.      Election of Delegates

       The annual Precinct Meetings shall elect 1 Delegate and 1 Alternate to the County
Convention. They shall also elect 1 additional Delegate and Alternate for each 100 registered
Republican voters, or major fraction thereof, in the precinct as of January 31 of that year in
accordance with the State Plan. Precinct members with an approved absence from the County
Chairman do not need to be in attendance in order to be elected as Delegates or Alternates.

       4.      Duties of Officers

        The Chairman of the Precinct Committee, with the advice and consent of the Precinct
Committee, shall have general supervision of the affairs of the Party within the Precinct, shall
preside at all Meetings of the Precinct, and shall perform such other duties as may be prescribed
by the Precinct Committee or the County Executive Committee. The Vice-Chairman shall function
as Chairman in the absence of the Chairman. The Secretary shall keep all minutes and records and
shall maintain a list of registered Republican votes and workers within the Precinct, unless
otherwise provided by the Precinct Committee or the County Executive Committee.

        The Chairman and Secretary of each Precinct shall certify the election of Officers,
Committee Members, and Delegates and Alternates to the County Convention. Complete
credentials shall be in the hands of the County Secretary by the deadline set by the County
Chairman, which shall be at least 2 days prior to the Credentials Committee Meeting; provided,
however, that when the Precinct Meetings and the County Convention are held on the same day,
the complete credentials shall be in the hands of the County Secretary at the time set by the County
Chairman on that day. No Delegate or Alternate shall be added to the Credentials List following
the adjournment of the Precinct Meeting. This delegate list shall be made immediately available
to any Republican candidate, at that candidate’s reasonable expense, after the County Chairman
receives a confidentiality and use agreement, signed by the candidate, stating the list will be used
only for Republican activities related to the candidate’s run for office.

       5.      Other Precinct Meetings.

                a.     Other Meetings of the Precinct general Membership may be held at such
time as shall be designated by the Chairman of the Precinct Committee after giving 5 days’ notice
of such Meeting in a newspaper of general circulation within the County; or upon similar call of
1/3 of the Members of the Precinct Committee, or Members of the general Precinct Membership.
There shall be no proxy voting.

                 b.    In the event a Precinct fails to properly organize or the Precinct Chairman
fails to act, the County Chairman shall appoint a Temporary Precinct Chairman who shall serve
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for a period not to exceed 60 days, during which time a County Executive Committee meeting
shall be called and a new Precinct Chairman shall be elected by the County Executive Committee.
All County Executive Committee members present at a County Executive Committee meeting
called for the purpose of electing a new Precinct Chairman may vote in the election; there is no
requirement for a voting County Executive Committee member to be registered in the precinct for
which a new Precinct Chairman is being elected.

                c.      Vacancy due to death, resignation, discontinuance of residency within the
Precinct, removal of any Officer or Member of the Precinct Committee, or for any other reason,
shall be filled by the remaining Members of the Precinct Committee. The procedure for removal
of any Member or Officer is defined in Article VII.A.7.

              d.      In the event of a newly created or consolidated precinct by the Cabarrus
County Board of Elections, the Cabarrus County Republican Executive Committee shall treat the
new precinct as “unorganized” and follow the procedure as detailed in Article A Section 5.b.

B.     PRECINCT COMMITTEE

       1.      Duties of Committee

        The Precinct Committee shall cooperate with the County Chairman and County Executive
Committee in all elections and Party activities, provide the County Chairman with a list of Party
Members within the Precinct suitable for appointment as Election Officials, and promote the
objectives of the Party within the Precinct.

       2.      Duties of Officers

        The Chairman of the Precinct Committee, with the advice and consent of the Precinct
Committee, shall have general supervision of the affairs of the Party within the Precinct, shall
preside at all Meetings of the Precinct, and shall perform such other duties as may be prescribed
by the Precinct Committee or the County Executive Committee. The Vice-Chairman shall function
as Chairman in the absence of the Chairman. The Secretary shall keep all minutes and records and
shall maintain a list of registered Republican voters and workers within the Precinct, unless
otherwise provided by the Precinct Committee or the County Executive Committee.

                          ARTICLE III - COUNTY ORGANIZATION

A.     ANNUAL CONVENTION

       1.      Call of Convention

                a.      A County Convention shall be called every year by the Chairman of the
County Executive Committee, at a suitable location within the County, within the month of March,
at least 10 days prior to the scheduled District Convention, and in accordance with Article VII.B.1
of the State Plan. Notice of the County Convention shall be given in accordance with Article
VII.A.4. At or about the time of the call of the Convention, the County Chairman, with the advice
and consent of the Executive Committee, shall appoint a Credentials Committee consisting of no

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less than 3 people, which will meet and issue its report on Delegates and Alternates certified to
that Convention. If Precinct Meetings are held prior to the County Convention, the Credentials
Committee shall issue its report on Delegates and Alternates certified to the County Convention at
least 3 days in advance of the convening of the County Convention. When Precinct Meetings are
held prior to the date of the County Convention, all Delegates and Alternates challenged in the
report of the Credentials Committee shall be notified prior to the day of the Convention and
allowed to present their case to the Credentials Committee prior to the convening of the
Convention. If Precinct Meetings and the County Convention are held concurrently on the same
day, the Credentials Committee shall issue its report on Delegates and Alternates certified to the
County Convention prior to the transaction of any business at the County Convention. When
Precinct Meetings are held concurrently on the same day with the County Convention, all
Delegates and Alternates challenged in the report of the Credentials Committee shall be notified
on that day and allowed to present their case to the Credentials Committee. The Delegates and
Alternates elected at the Precinct Meetings, unless successfully challenged, shall sit as Delegates
and Alternates to the County Convention.

              b.     If the County Chairman fails, refuses or neglects to call a County
Convention as required by this Article, it shall become the duty of the Vice-Chairman to act in this
capacity. The Vice-Chairman shall follow procedures provided in Article VII.A.4. If the County
Chairman or Vice-Chairman does not call such a Meeting, it shall be cause for any Member of the
County Executive Committee, with the approval of the Congressional District Chairmen, to call
such County Convention.

       2.      Convention Action

               a.      Plan of Organization

        Each year, the County Convention shall adopt or amend a written County Plan of
Organization not inconsistent with the State Plan of Organization, a current copy of which shall
be on file at County Headquarters and at State Headquarters. If the County Convention fails to
adopt a written County Plan of Organization, the previously adopted County Plan of Organization
shall remain in effect, to the extent not inconsistent with this State Plan of Organization. If a
County has never adopted a County Plan of Organization and fails to adopt a written County Plan
of Organization at a County Convention, the State Plan of Organization shall control.

               b.      Elections

                       a)       In every odd-numbered year, the County Convention shall elect a
Chairman and Vice-Chairman, a Secretary, a Treasurer and such other Officers as may be deemed
necessary, who are registered Republican as of January 31 of that year and who shall serve for a
term of 2 years or until their successors are elected.

                        b)     In every odd-numbered year, the County Convention shall elect a
County Executive Committee of 14 members, in addition to the County Officers, who shall hold
their places for a term of 2 years or until their successors are elected.

                       c)     The County Convention shall elect 1 Delegate and 1 Alternate to

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Congressional District and State Conventions, plus 1 additional Delegate and Alternate for every
250 Republicans, or major fraction thereof, registered in the County, as of January 31 of that year.
The County shall further elect 1 Delegate and 1 Alternate for each Republican elected to the state
legislature and to public office on the state or national level from said County in the last election
held for that office.

                       d)

       3.      Credentials

        The Chairman and Secretary of the County Executive Committee shall certify the election
of Officers, Committee Members, Delegates, Alternates and Precinct Chairs to the District and
State Conventions, on forms created by the State Credentials Committee and approved by the State
Central Committee and in conformance with Article VII of the State Plan. Completed Credentials
shall be in the hands of or in the email box of the Congressional District Secretary and the State
Headquarters no later than 10 days following the date of the County Convention. The postmark
date will be used to determine compliance for mailed credentials. No Delegates or Alternates shall
be added to the Credentials list following the adjournment of the County Convention. Copies of
all newspaper notices in addition to a list of county and precinct officers, shall be submitted to the
NC Republican Party and all applicable Congressional District Committees along with County
Credentials.

       4.      Convention Fee

        For each person who is elected at a County Convention to be either a Delegate or an
Alternate to the State Convention, the County Party shall forward to the State Party a fee set by
the State Central Committee to defray the costs of mailing Convention materials to such elected
Delegates and Alternates. Each elected Delegate and Alternate will be responsible for reimbursing
the County Party such fee paid on the Delegate or Alternate’s behalf.

       5.      Meeting Cancellation Due to Circumstances out of Party’s Control

        When circumstances beyond the control of the County Party prevent access to or use of the
County Convention facility (including but not limited to inclement weather conditions), it shall be
the responsibility of the County Chairman to consult with the County Vice-Chairman, County
Secretary and County Treasurer and make a decision on the cancellation and rescheduling of said
County Convention in the timeliest manner possible. All efforts should be made by the County
Chairman to notify local news outlets of said cancellation and rescheduling information. Notice of
cancellation and rescheduling shall be given to Republican State Headquarters within twenty-four
(24) hours or on the next business day.

B.     COUNTY EXECUTIVE COMMITTEE

       1.      Membership

              a.     Elected Members - The County Executive Committee shall consist of the
County Officers and other persons elected by the County Convention in accordance with Article

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III.A.2.b, the County Finance Chairman, and immediate past chairman.

               b.      Auxiliary Voting Members. In addition to the members of the County
Executive Committee identified in paragraph a above, the President or Chairman of a Federated
Cabarrus County Chapter of the following organizations shall serve as a voting member of the
County Executive Committee: Young Republicans, Republican Women’s, Republican Men’s,
College Republicans, and Teenage Republicans. The vote of the North Carolina Teenage
Republicans shall be cast by the Advisor of the Chapter, who shall have been appointed by the
County Chairman. The Auxiliary Voting Members must be members in good standing with their
respective federated organizations, and are subject to the same eligibility, removal and petition
requirements as all other members of the County Executive Committee. In any event, only one (1)
Auxiliary Voting Member representative per chapter of each federated organization may serve on
the Executive Committee. Should more than one auxiliary of the same group be federated, the
Executive Committee shall have the final vote to select the auxiliary to hold the Executive
Committee seat.

       2.      Powers and Duties

                a.      The County Executive Committee shall cooperate with the District and
State Committees in all elections and Party activities; shall encourage qualified candidates for
offices within the County; shall adopt a budget; and shall recommend nominees to the State
Chairman for appointments for County Board of Election; and shall have active management of
Party affairs within the County. It shall approve a Finance Committee and an Auditing Committee
of not less than 3 Members each and may approve such other Committees as may be deemed
necessary. The County Chairman and Vice-Chairman shall be Ex-officio Members of all
Committees indicated in this paragraph.

                b.     In the event that it is determined that the County Plan of Organization is not
consistent with the State Party Plan of Organization, the County Executive Committee must at the
next called meeting bring the County Plan of Organization into compliance with the State Party
Plan of Organization. Under any circumstances, the County Plan of Organization must be brought
into compliance within 90 days. The County Executive Committee may amend the County Plan
of Organization upon a 2/3 vote after providing written notice via first class United States Mail of
the meeting advising members regarding the substance of the proposed amendment and provided
a quorum is present. The County Party shall submit, by certified United States Mail, return receipt
requested, the County Plan of Organization, and amendments thereto, to the NCGOP State
Headquarters Executive Director, Political Director, and District Chairman within 30 days after
their adoption, in order for the Plan and/or amendment to be considered valid.

       3.      Meetings

               a.      The County Executive Committee shall meet at least twice a year upon call
of the County Chairman, or the call of 1/3 of the Members of the County Executive Committee,
after giving 10 days’ notice to all Members. Ten (10) Members of the Executive Committee shall
constitute a quorum for the transaction of business. There shall be no proxy voting.

               b.      Pursuant to Robert's Rules of Order, if a situation arises that requires
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immediate attention, the County Executive Committee may convene an impromptu meeting in
which the Members of the County Executive Committee are allowed to participate and vote
through electronic means (phone, e-mail, fax, etc.). At the next regularly scheduled meeting of the
County Executive Committee pursuant to paragraph a above, or other properly called meeting, a
vote taken in compliance with this paragraph shall be ratified and entered into the minutes. There
shall be no proxy voting.

       4.      Duties of Officers

             a)       The Chairman of the County Executive Committee, with the advice and
consent of the County Executive Committee, shall have general supervision of the affairs of the
Party within the County. The Chairman shall issue the call for Precinct Meetings, the County
Convention, and Executive Committee Meetings, and the Chairman shall preside at all Meetings
of the County Executive Committee. The Chairman shall appoint a Finance Chairman, Auditing
Committee (subject to the advice and consent of the County Executive Committee) and any other
committees the Chairman deems necessary to conduct the business of the County Executive
Committee. The Chairman shall further appoint a Temporary Chairman of the County Convention,
who may be himself or herself. The Chairman shall make periodic reports on the status of the Party
within the County to the District Chairman. The Chairman shall be responsible for the creation and
maintenance of a Republican organization in every Precinct within the County. The Chairman shall
obtain and preserve a list of all registered Republicans within the County and shall perform such
other duties as may be prescribed by the County, District, or State Committees. The County
Chairman shall be an “Ex-officio” Member of all Committees unless otherwise designated in this
County Plan of Organization.

             b.        The Vice-Chairman shall function as Chairman in the absence of the
Chairman and shall have such other duties as may be prescribed by the County Executive
Committee. The County Vice-Chairman shall be an “Ex-officio” Member of all Committees unless
otherwise designated in this County Plan of Organization.

                c.       The Secretary shall keep all minutes and records and shall maintain a roster
of all Precinct Officers and the Executive Committee Members. Such records shall be available,
including all Credentials Lists upon request, to any registered Republican within the County. The
Secretary shall furnish to the Congressional District Chairman and to the State Headquarters up to
date lists of all Precinct Chairmen.

              d.       The Treasurer shall receive and disburse all funds for Party expenditures
pursuant to authority duly given by the County Executive Committee, shall make a financial report
at all County Executive Committee Meetings, and shall fulfill all financial reports and obligations
required under State and Federal election laws.

       5.      Vacancies and Removals

                a.      Vacancy due to death, resignation, discontinuance of residency within the
County, removal of any Officer or Member of the County Executive Committee, or for any other
reason, shall be filled by the remaining members of the County Executive Committee.


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             b.     The procedure for removal of any Member of the County Executive
Committee or any Officer is defined in Article IX.A.6 of the State Plan of Organization. Such
removal may be appealed to the State Central Committee within 20 days and their decision shall
be final.

       6.      Resolutions and Special Rules of Order

              a.     Pursuant to Robert’s Rules of Order, resolutions and special rules of order will
remain in effect until amended or rescinded by the Executive Committee. A newly elected
Executive Committee does not nullify a resolution or special rule of order passed by a previous
Executive Committee.

              b.     Copies of resolutions and special rules of order shall be kept with the County
Plan of Organization. They will be added as addenda, and will not be considered as part of the
County Plan. Resolutions and special rules of order will be identified as such, and kept as separate
addenda to the Plan.

C.     COUNTY FINANCE AND AUDITING COMMITTEES

       1.      Finance Committee

       The County Finance Committee shall be composed of the County Finance Chairman, the
County Chairman, County Vice-Chairman, the County Treasurer, and not less than 3 persons
approved by the County Executive Committee. They shall cooperate with the Congressional District
and State Finance Committees and shall have active management of fund-raising efforts within the
County.

       2.      Audit Committee

        The members of the Auditing Committee shall be nominated by the County Chairman and
the names shall be presented for the advice and consent of the County Executive Committee. The
Auditing Committee, once approved, shall conduct a yearly review of the financial records of the
County and report such review to the County Executive Committee for approval. The review shall
be in accordance with Article III.C.2 of the State Plan.


               ARTICLE IV - JUDICIAL, SENATORIAL, & LEGISLATIVE
                      DISTRICT EXECUTIVE COMMITTEES

       The County provisions shall be consistent with those in Article IV of the State Plan.


            ARTICLE V – CONGRESSIONAL DISTRICT ORGANIZATIONS
                              CONVENTIONS

        The County provisions shall be consistent with those in Article V of the State Plan.


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                             ARTICLE VI – STATE ORGANIZATION

         The County provisions shall be consistent with those in Article VI of the State Plan.




                ARTICLE VII – GENERAL ADMINISTRATIVE PROCEDURE

 A.      CONVENTION PROCEDURES

         1.       Annual Conventions

                a.     The County Convention shall be called to order by the Chairman, or in the
 absence of the Chairman, by the Vice-Chairman or Secretary, in order stated, who shall have the
 power to appoint the necessary Convention Committees and Temporary Officers at or before the
 convening of the Convention.

                b.      No member of a credentials committee created by this Plan shall be eligible
 to be elected to an officer or executive committee position at the convention for which the
 credentials committee serves, nor shall a committee member publicly support anyone for an office
 to be elected by said convention. Except when voting in convention, members of credentials
 committees shall strive to maintain the integrity of the convention and the committee by conducting
 the business of the committee with impartiality and strict neutrality on the business and elections of said
 convention.

         2.       Voting Procedure

                a.     No Precinct shall cast more votes than it has duly elected Delegates on the
 floor at the County Convention.

                 b.      No person shall be seated as a Delegate at the County Convention unless
 such person shall have been duly elected a Delegate or Alternate by the appropriate Precinct
 Meeting or County Convention; except, the registered Republican or Republicans, present at a
 County Convention from an unorganized Precinct, which has not had its credentials accepted, shall
 have the right to vote 1 vote per Precinct, prorated among those present from that Precinct.

                c.        No Delegate, Alternate or any other member of the Convention shall cast
 any vote by proxy.

         3.       Special Meeting and Conventions

The State Central Committee, at any time, in the interests of the Republican Party, may direct the State
Chairman or the Congressional District Chairmen to issue a call for Special Senatorial, Judicial or Legislative
Organization Meetings, and Special County and Congressional District Conventions, in any or all of the
Counties and Districts of the State. The procedure for calling Regular Meetings and Conventions shall apply

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to the calling of Special Meetings and Conventions so far as applicable and not inconsistent with this Plan
of Organization or the State Plan of Organization.


         4.      Newspaper of General Circulation

         Notice published in a newspaper of general circulation in the County for the purpose of
 this Plan of Organization, shall include either a paid advertisement, or a news item, provided it
 includes the time, date, location and purpose of the Meeting. Such notices shall appear in the
 newspaper at least 10 days prior to the Meeting or Convention.

         5.      Challenges

         Notwithstanding any other provisions of this Plan of Organization or the State Plan,
 challenges to Delegates and Alternates must be made in their capacity as individual Delegates and
 Alternates. The successful challenges of individuals in their capacity as Delegates and Alternates
 shall not affect the seating of other Delegates and Alternates in the same Precinct or County
 Delegates unless it can be demonstrated by a preponderance of the evidence that the previous
 election of such successfully challenged Delegates and Alternates resulted in the election of other
 Delegates and Alternates within such Delegation who would not otherwise have been elected, but
 for the votes of the unqualified Delegates or Alternates.

         6.      General Election Procedure

         Notwithstanding any other Article in this Plan of Organization, the allocated Delegate slots
 and then the allocated Alternate slots allotted under this Plan of Organization to a Precinct or a
 County shall be filled first by the election of those duly qualified registered Republicans, eligible
 to vote, present at such Meeting or Convention and desiring to be elected to fill such slots. All duly
 qualified Republicans registered to vote may be elected by qualified Republicans attending the
 meeting to fill slots that have not been filled by Republicans attending the meeting or conventions.
 No one shall be eligible for or elected as a Delegate or Alternate who is not present at the
 Convention to the exclusion of a duly qualified Republican present at the Convention.

         7.      Vacancies and Removals

                 a.      Any Member of a Committee organized under this Plan may be removed
                              (a)    as defined in Article IX.A.6 of the State Plan or Organization.

         8.      Non-Partisan Candidates and Office Holders

         No County Committee of the North Carolina Republican Party shall offer an opportunity
 for a candidate for, or current office holder of, a “non-partisan office” who is not a Registered
 Republican to address a Republican Convention or other function sponsored by the North Carolina
 Republican Party or any of its subdivisions.
 B.      OFFICIAL RECORDS

         Minutes shall be kept by all Committees and Conventions of official actions taken, and a
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 copy shall be filed with the Chairman of the appropriate Committee or Convention and with
 Republican State Headquarters.

 C.      FINANCIAL ACCOUNTS

         1.      Records

         The Chairman, Treasurer, and Finance Chairman of the County Committees shall keep
 faithful and accurate records of any and all monies received by them for the use of the said
 Committees and shall make faithful and accurate reports thereof when so requested.

         2.      Loans

         No officer, staff or member of the Party shall cause the Party to undertake a loan without
 the prior approval of the Central Committee.

         3.      Budgeted Expenses

        No County or officer, or Executive Committee member of the County Party shall exceed approved
total budgeted expenditures without approval from the County Executive Committee.

         4.      Leases

         No County officer, or Executive Committee member of the County Party shall commit the Party to
a lease in excess of $1,000 or 90 days without the approval of the County Executive Committee.

 D.      APPOINTMENTS

      Appointments to State, District, County, or Jurisdictional positions shall be governed by the
      State Plan of Organization as described in Section IX. D.


 E.      FORFEITURE OF OFFICIAL PRIVILEGES

         1.      Removal or Resignation from Committees

        Any current or former Officer or Member of a Precinct Committee, County Executive
 Committee, District Committee, State Executive Committee or State Central Committee who, for
 any reason, is removed or resigned from said position shall forfeit all rights and privileges in any
 way connected with that position.

         2.      Party Disloyalty

         Any registered Republican attempting to influence or influencing the outcome of any
 election against a Republican candidate or Republican endorsed by the appropriate Republican
 Executive Committee or Legislative Caucus, other than by supporting an opposing Republican
 Candidate in a Republican primary, may be declared ineligible to hold office under the State Plan
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 of Organization at the State, District, and Precinct level for Party disloyalty by 2/3 vote of the State
 Executive Committee. Charges of Party disloyalty may be brought by petition of 50 members of
 the State Executive Committee, or by resolution of a County or District Republican Executive
 Committee. The State Executive Committee may declare a Republican found to have engaged in
 Party disloyalty as ineligible to serve in any office under the Plan of Organization for a period of
 time between 6 months and 5 years.

 F.      ELECTION OF PRESIDENTIAL DELEGATES AND ALTERNATES

        Election of Presidential Delegates and Alternates shall be as defined in the State Plan of
      Organization as defined in Section VIII of the State Plan of Organization.


 G.      REFRAIN FROM UTILIZING POWERS OF OFFICE IN REPUBLICAN PRIMARY
         Each Officer and each Member of any Committee created pursuant to this Plan of Organization
shall refrain from utilizing the powers and dignity of his or her office or position in any Republican Primary
for public office at any level. Nor shall any Committee created pursuant to this Plan of Organization make
or issue, in any way, manner or form, any endorsement in any Republican Primary for public office. Nor
shall any Committee issue any contrary endorsement or withhold support from any non-partisan judicial
candidates properly endorsed pursuant to this Plan of Organization.

 H.      PARTY OFFICERS AS CANDIDATES

 In the event that the Chairman or Vice Chairman of the State Party, or any District, Legislative,
 Judicial or County Party, shall announce his intention to run for public office or shall file a notice
 of candidacy with the Board of Elections, that person shall be deemed to have resigned his office
 within the Party, effective seven days after the close of filing, and the then-existing vacancy shall
 be filled as provided for in Article III.B.5 of this Plan

 I.      ENDORSEMENTS IN NON-PARTISAN ELECTIONS

          1.     In non-partisan elections, district and county executive committees shall have
 exclusive authority to endorse registered Republicans running in that district or county. Political
 subdivision executive committees (i.e., County Executive Committee) shall not issue
 endorsements in non-partisan races unless the District resides entirely within the County. All
 members of the County Executive Committee may vote on the non-partisan endorsements for
 districts wholly encompassed within that county, regardless of whether Committee members live
 within the District in question.

        2.     In non-partisan, statewide judicial elections, the NCGOP State Executive
 Committee shall have the exclusive authority to endorse registered Republicans. Political
 subdivisions executive committees (i.e., County Executive Committees, etc.) shall not issue
 endorsements of non-partisan, statewide judicial candidates inconsistent with the State Executive
 Committee endorsements.

        3.     With respect to any endorsement provided for in this section, and unless otherwise
 provided by law, notice to committee members of the time, date, location, and purpose of the
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 meeting at which any such endorsement will be considered must be made by United States Mail
 to the last known address of the committee member. Notice must be mailed at least ten (10) days
 prior to the date of the meeting, unless good cause exists for shortening the time period. In no case
 may the meeting be scheduled for a time and date less than (5) days after the notice to committee
 members. Such notice shall also be provided to all registered Republicans who are candidates
 seeking the office for which the endorsement is made.

 J.       NOTICE

         1.     “Written Notice” as used in this plan shall mean notice sent through the United
 States Postal Service (USPS) first class mail.

          2.    The date post marked by the USPS shall be conclusive as to the date notice was
 given.

         3.      Individuals entitled to receive written notice under this plan may elect to receive
 notification by other means in lieu of written notice. This may be requested via written notice to
 the secretary of the entity required to give written notice; however, this waiver is revocable at any
 time by sending written notice of the revocation to the secretary.

 K.       PARTICIPATION BY TELEPHONE OR OTHER ELECTRONIC CONFERENCE
          CALL

        The Chairman of any committee organized under this Plan may permit any one (1) or more
 members of such committee to participate in a meeting of such committee by means of a telephone
 or other electronic conference call that allows all persons participating in the meeting to
 simultaneously hear each other during the meeting, and such participation in a meeting shall be
 deemed present in person at such meeting.

 L.       ACTION WITHOUT MEETING

         Action required or permitted to be taken at a meeting of any committee organized under
 this Plan may be taken without a meeting by unanimous written consent of all members of such
 committee. The action must be evidenced by one or more written consents signed by each member
 of such committee before or after such action, describing the action taken, and included in the
 minutes or filed with the committee’s records. Action so taken is effective when the last member
 of such committee signs such consent, unless the consent specifies a different effective date. Such
 consent has the effect of a meeting vote and may be described as such in any document.


                     ARTICLE VIII - AMENDMENTS, APPLICABILITY
                         AND EFFECTIVENESS OF THIS PLAN

 A.       AMENDMENTS TO PLAN OF ORGANIZATION


1. Timing of Amendment

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        The Plan of Organization may be amended, not inconsistent with the Rules of the Republican
National Committee or the State Plan of Organization, by majority vote of the delegates present and voting
at any County Convention provided, however, that the proposed amendment (s) were mailed to the
membership of the Executive Committee, at least thirty days prior to the convening of the County
Convention. This mailing requirement shall not apply to the Report of the duly appointed Plan of
Organization Committee.

2. Proposed Amendments from Floor of Count Convention

        Amendments from the Convention floor to the proposed Amendments to the Plan (an amendment
to the amendment) which would materially alter the intent of the original proposed amendment shall not
be considered in order unless the proposer of the proposed amendment shall have first furnished a
minimum of two hundred (200) copies of the proposed amendment, and must receive a two-thirds vote of
the delegates present and voting at the County Convention to be approved. This paragraph applies only to
amendments to Amendments to the Plan that were mailed out to the Executive Committee as
above described or provided by the Plan of Organization Committee.

3. Untimely Proposed Amendments

        Proposed amendments to the Plan not mailed to the County Executive Committee thirty days prior
to the convening of the County Convention shall not be considered in order unless the proposer of the
proposed amendment shall have first furnished a minimum of two hundred (200) copies of the proposed
amendment, and it must receive a two-thirds vote of the delegates present and voting at the County
Convention.

4. Administrative Amendments

         The Plan of Organization Committee shall have authority to correct any spelling or typographical
errors in the Plan of Organization, as a housekeeping matter, that do not change the substance of the Plan.
Notwithstanding any other provision of this Plan, in the event that there is a change in state or federal
election law that renders a portion of this Plan ineffective, obsolete or inoperative, the Executive
Committee may, upon a two-thirds majority vote, temporarily amend this Plan to the extent necessary to
alter procedures or schedules affected by such change in state or federal election law. Any change made
pursuant to this paragraph shall be effective only until the date of adjournment of the next annual County
Convention called pursuant to this Plan.


 B.      APPLICABILITY AND EFFECTIVENESS OF THIS PLAN

         1.      Rules as to Towns and Cities

          This Plan of Organization is not intended to extend to or establish organizations for the
 Republican Party of various towns and cities of the State of North Carolina as separate units from
 the Precinct and County Organization. Qualified and registered Republican voters of the towns
 and cities of the state may organize and promulgate their own rules not inconsistent with these
 rules and the organizations herein established.

         2.      Rules as to Cabarrus County

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        The Precinct and County Committees and County Conventions, and the District
Committees and Conventions are authorized to promulgate such additional rules and establish such
additional Party Officers or Committees for their respective organizations, not inconsistent with
these rules, as shall be deemed necessary. Counties may establish Executive Boards to transact the
business of the Party between County Executive Committee Meetings.

C.     AUTHORITY

       1.      Controversies

        Controversies in the County with respect to the organizations set up therein under this plan
shall be handled pursuant to Article X.C.1of the State Plan of Organization.

       2.      Parliamentary Authority

       The current edition of Robert's Rules of Order Newly Revised shall govern all proceedings,
except when inconsistent with the State Plan of Organization or Convention Rules properly
adopted.

       3.      Gender and Number

       The masculine pronoun or title herein includes the feminine, and the singular herein
include the plural, wherever appropriate.

       4.      No Proxy Voting

       No proxy voting shall be allowed at any meeting or convention held pursuant to this Plan.

D.     EFFECTIVE DATE

       This Plan of Organization shall become effective and repeal and supersede all other rules,
except as specifically noted, immediately following adjournment of the Cabarrus County
Convention, March 20, 2021




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